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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

 In Re:                                                              Case No. 18-30946-KKS

 Juan Carlos Alboniga,
                                                                     Chapter 7

           Debtor.

 _______________________________/
ORDER APPROVING CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
 SERVICES TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327 (Doc. 35)
          THIS MATTER came before the Court on the Chapter 7 Trustee's Application To Retain BK

Global Real Estate Services to Procure Consented Public Sale Pursuant to 11 U.S.C. § 327 (Doc.

35), and the Court being otherwise fully advised, it is:


          ORDERED:
          1.     The Application is APPROVED.
          2.     The Trustee is authorized to retain BK Global Real Estate Services, pursuant to

the terms and conditions provided in the Application (Doc. 35).


                         DONE AND ORDERED on ____________________________.
                                                April 8, 2019




                                                  __________________________________________
                                                  KAREN K. SPECIE
                                                  Chief U.S. Bankruptcy Judge


         Sherry F. Chancellor is hereby directed to serve a copy of this order on interested parties and file
a certificate of service within 3 days of entry of the order.

This Order Prepared by: Sherry F. Chancellor.
